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                                 UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF NEW JERSEY


      ADAPT PHARMA OPERATIONS
      LIMITED, et al.,

                           Plaintiffs,
                                                          Case No. 2:16-cv-7721 (BRM) (JAD)
                           v.
                                                                        ORDER
      TEVA PHARMACEUTICALS
      USA, INC., et al.,

                           Defendants.


           THIS MATTER comes before the Court 1 by way of an Amended Complaint for Patent

  Infringement brought by Plaintiffs Adapt Pharma Operations Limited; Adapt Pharma, Inc.; Adapt

  Pharma Limited (collectively “Adapt”); and Opiant Pharmaceuticals, Inc. (together with Adapt,

  “Plaintiffs”) against Defendants Teva Pharmaceuticals USA, Inc. and Teva Pharmaceuticals

  Industries Ltd. (collectively, “Teva” or “Defendants”). (ECF No. 43.) This action relates to the

  validity of the following claims of the corresponding United States Patents held by Plaintiffs:

  (1) Claims 7 and 9 of United States Patent Number 9,468,747 (the “’747 Patent”) (TX-0001) 2;

  (2) Claim 4 of United States Patent Number 9,561,177 (the “’177 Patent”) (TX-0002); (3) Claims

  21, 24, and 25 of United States Patent Number 9,629,965 (the “’965 Patent”) (TX-0003); and

  (4) Claims 2, 24, 33, and 38 of United States Patent Number 9,775,838 (the “’838 Patent)

  (TX-0004).




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      On May 22, 2019, this case was reassigned to the undersigned. (ECF No. 213.)
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      The Amended Bench Trial Exhibit List can be found at ECF No. 338.
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           The Court held a two-week bench trial beginning on August 26, 2019, and concluding on

  September 6, 2019. Due to scheduling issues, testimony from the parties’ experts on

  pharmaceutical economics was heard on October 17, 2019. The parties submitted opening

  post-trial briefs, and proposed findings of fact and conclusions of law on November 13, 2019.

  (ECF Nos. 284–87.) The parties submitted responsive post-trial briefing on December 6, 2019.

  (ECF Nos. 300, 302–04.) Closing arguments were held on February 26, 2020.

           Accordingly, for the reasons set forth in the accompanying Opinion and for good cause

  shown,

           IT IS on this 5th day of June 2020,

           ORDERED that Claims 7 and 9 the ’747 Patent are INVALID; and it is further

           ORDERED that Claim 4 of the ’177 Patent is INVALID; and it is further

           ORDERED that Claims 21, 24, and 25 of the ’965 Patent are INVALID; and it is further

           ORDERED that Claims 2, 24, 33, and 38 the ’838 Patent are INVALID; and it is further

           ORDERED that the Clerk is directed to file the accompanying Opinion under temporary

  seal until further order of the Court; and it is further

           ORDERED that the parties shall submit a joint redacted version of the accompanying

  Opinion     via    email    to     chambers_of_judge_brian_martinotti@njd.uscourts.gov       by

  June 19, 2020; and it is finally

           ORDERED that the parties shall submit a joint proposed form of judgment consistent with

  this Order and the accompanying Opinion by June 19, 2020.



                                                             s/ Brian R. Martinotti
                                                             HON. BRIAN R. MARTINOTTI
                                                             UNITED STATES DISTRICT JUDGE



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